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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     BRIAN WHITAKER,                                Case No. 21-cv-08767-KAW
                                                         Plaintiff.
                                   8
                                                                                        JUDGMENT IN A CIVIL CASE
                                                v.
                                   9
                                                                                        Re: Dkt. No. 16
                                  10     MARIN CITY SUBWAY, LLC,
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         (x) Decision by Court. Judgment entered pursuant to Rule 68.

                                  14         IT IS SO ORDERED AND ADJUDGED

                                  15

                                  16   Dated: 3/9/2022

                                  17                                              Mark B. Busby, Clerk of Court

                                  18                                              William F. Tabunut
                                  19                                              Deputy Clerk

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